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1    DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
2    Dennis S. Waks, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700
5    Attorney for Defendant
     KHAMALE KEOVILAY
6
                        IN THE UNITED STATES DISTRICT COURT
7
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,      )
10                                  )    Cr.S. 09-223-GEB
                    Plaintiff,      )
11                                  )    STIPULATION AND ORDER
               v.                   )
12                                  )
     KHAMALE KEOVILAY, et al.,      )    DATE: January 27, 2012
13                                  )    TIME: 9:00 a.m.
                    Defendants.     )    JUDGE: Hon. Garland E. Burrell
14                                  )
     __________________________     )
15
16
          It is hereby stipulated and agreed to by the United States of
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     America through TODD D. LERAS, Assistant United States Attorney, and
18
     defendant, KHAMALE KEOVILAY, by and though his counsel, DENNIS S. WAKS,
19
     Supervising Assistant Federal Defender, that the status conference set
20
     for December 2, 2011, be continued to a status conference on Friday,
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     January 27, 2012, at 9:00 a.m.     This continuance is being requested
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     because defense counsel needs additional time to prepare, to review
23
     discovery, and to interview witnesses.       The parties have received a
24
     large amount of discovery, including Title III documents.
25
          Furthermore, the parties stipulate and agree that the interest of
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     justice served by granting this continuance outweighs the best interest
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     of the public and the defendant in a speedy trial. (18 U.S.C.
28
             Case 2:09-cr-00223-TLN Document 85 Filed 12/01/11 Page 2 of 3


1    §3161(h)(7)(A)).
2         Speedy trial time is to be excluded from the date of this order
3    through the date of the status conference set for January 27, 2012,
4    pursuant to 18 U.S.C. § 3161 (h)(7)(B)(iv) [reasonable time to prepare]
5    (Local Code T4).
6    DATED: November 29, 2011
7                                       Respectfully submitted,
8                                       DANIEL J. BRODERICK
                                        Federal Defender
9
                                        /s/ Dennis S. Waks
10
                                        DENNIS S. WAKS
11                                      Supervising Assistant Federal Defender
                                        Attorney for Defendant
12                                      KHAMALE KEOVILAY
13
14   DATED: November 29, 2011
                                        BENJAMIN B. WAGNER
15                                      United States Attorney
16
                                        /s/ Dennis S. Waks for
17
                                        TODD D. LERAS
18                                      Assistant U.S. Attorney
19   / / /
20   / / /
21   / / /
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1                                         O R D E R
2         Based on the stipulation of the parties and good cause appearing
3    therefrom, the Court hereby finds that the failure to grant a

4    continuance in this case would deny defense counsel reasonable time

5    necessary for effective preparation, taking into account the exercise

6    of due diligence.      The Court specifically finds that the ends of

7    justice served by the granting of such continuance outweigh the

8    interests of the public and the defendant in a speedy trial.             Based on

9    these findings and pursuant to the stipulation of the parties, the

10   Court hereby adopts the stipulation of the parties in its entirety as

11   its order.     Time is excluded from computation of time within which the
     trial of this matter must be commenced beginning from the date of the
12
     stipulation through and including January 27, 2012, pursuant to 18
13
     U.S.C. §    3161(h)(7)(A) and (B)(iv) [reasonable time for defense
14
     counsel to prepare] and Local Code T4.           A new status conference date is
15
     hereby set for January 27, 2012, at 9:00 a.m..
16
17   Dated:    November 30, 2011

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19                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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